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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------    x
SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                             Plaintiff,                 :   No. 19 Civ. 10832 (AT) (SN)
                                                                        :
                           - against -                                  :   ECF Case
                                                                        :
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE, :
And CHRISTIAN A. LARSEN                                                 :
                                                                        :
                                             Defendants.                :
                                                                        :
----------------------------------------------------------------------- x

                  DECLARATION OF LADAN F. STEWART IN SUPPORT
                  OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        I, Ladan F. Stewart, pursuant to 28 U.S.C. § 1746, declare as follows:

        1.       I am a member of the bar of the State of New York and of the United States District

Court for the Southern District of New York. I am employed by Plaintiff Securities and Exchange

Commission (the “SEC”) in its New York Regional Office.

        2.       I have personal knowledge of the facts and circumstances of the case. As counsel

representing the SEC, I reviewed information and documents obtained by the SEC during its

investigation and litigation of this matter, including documents described herein, and information

provided to me by members of the SEC staff.

        3.       I am submitting this Declaration to put forth exhibits in support of the

SEC’s motion for summary judgment against Defendants Ripple Labs, Inc., Bradley Garlinghouse,

and Christian A Larsen.
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          4.     Attached hereto are true and correct copies of the following documents or excerpts
  thereof:


Exhibit                 Document Description                                    Bates

 PX 1     Answer of Defendant Christian A. Larsen               N/A

 PX 2     Deposition of Christian A. Larsen                     N/A

 PX 3     Investigative Testimony of Patrick A. Griffin         N/A

 PX 4     Information Regarding XRP II, LLC's History and       RPLI_SEC 1043606
          Business

 PX 5     Instructions For License to Engage in Virtual         RPLI_SEC 0001151
          Currency Business Activity

 PX 6     Deposition of David Schwartz                          N/A

 PX 7     Investigative Testimony of David Schwartz             N/A

 PX 8     Responses and Objections of Defendant Ripple Labs     N/A
          to Plaintiff’s First Set of Requests for Admissions

 PX 9     Email chain dated January 23, 2018 with attachments   RPLI_SEC 0539460

PX 10     Deposition of Phillip Rapoport                        N/A

PX 11     Expert Report of Carol A. Osler                       N/A

PX 12     Expert Report of                                      N/A

PX 13     Expert Rebuttal Report of                             N/A

PX 14     Deposition of Patrick Griffin                         N/A

PX 15     Deposition of Asheesh Birla                           N/A

PX 16     Investigative Testimony of Asheesh Birla              N/A

PX 17     Deposition of Monica Long                             N/A

PX 18     Deposition of Antoinette O’Gorman                     N/A

PX 19     Deposition of Ryan Zagone                             N/A

PX 20     Deposition of Miguel Vias                             N/A


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PX 21   Investigative Testimony of Miguel Vias                N/A

PX 22   Deposition of Dinuka Samarasinghe                     N/A

PX 23   Deposition of Ron Will                                N/A

PX 24   Deposition of Ethan Beard                             N/A

PX 25   Deposition of Breanne Madigan                         N/A

PX 26   Deposition of Cristian Gil                            N/A

PX 27   Email chain dated January 10, 2020 and attachment     RPLI_SEC 0477674

PX 28   Email dated October 9, 2013 and attachment            RPLI_SEC 0320652

PX 29   Email dated October 17, 2013 and attachment           RPLI_SEC 0328413

PX 30   Email chain dated October 22, 2013 and attachment     RPLI_SEC 0337822

PX 31   Email dated August 21, 2014                           RPLI_SEC 0842466

PX 32   Email chain dated October 9, 2017                     RPLI_SEC 0645510

PX 33   Email chain dated July 30, 2019                       RPLI_SEC 0223540

PX 34   Email chain dated April 30, 2018                      RPLI_SEC 0624456

PX 35   Email chain dated June 1, 2013                       / RPLI_SEC 0322029

PX 36   Investigative Testimony of Bradley Garlinghouse       N/A

PX 37   Email chain dated April 9, 2017                       RPLI_SEC 0352161

PX 38   Email dated April 19, 2017                            RPLI_SEC 0043124

PX 39   Email chain dated January 17, 2018                    RPLI_SEC 0221961

PX 40   Email dated January 7, 2020                           RPLI_SEC 0476871

PX 41   Email chain dated December 12, 2017 and attachment    RPLI_SEC 0054865

PX 42   Email dated November 21, 2016 and attachments         RPLI_SEC 0887967

PX 43   Email dated March 28, 2017                            RPLI_SEC 0049126

PX 44   Email chain dated November 24, 2013                   RPLI_SEC 0461857



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PX 45   Declaration of Chris Ferrante                     N/A

PX 46   Email chain dated March 28, 2017 and attachment   RPLI_SEC 0156968

PX 47   Email dated January 31, 2017 and attachments      RPLI_SEC 0532018

PX 48   Chats dated January 8, 2018                       RPLI_SEC 1108317

PX 49   Quora post by David Schwartz

PX 50   Email chain dated January 2, 2014                 RPLI_SEC 0530297

PX 51   Email chain dated April 3, 2017                   RPLI_SEC 0509599

PX 52   Email dated May 9, 2013 and attachments           RPLI_SEC 0070352

PX 53   Email dated October 25, 2013 and attachments      N/A

PX 54   Email dated July 19, 2013 and attachments         RPLI_SEC 0088242

PX 55   Email chain dated June 10, 2014 and attachments   RPLI_SEC 0087902

PX 56   Email dated July 25, 2014 and attachments         RPLI_SEC 0087828

PX 57   XRP as Bridge Currency                            N/A

PX 58   Email chain dated July 22, 2014                         _Ripple_0002422

PX 59   Email chain dated November 27, 2017               RPLI_SEC 0377197

PX 60   Email chain dated December 7, 2017                RPLI_SEC 0539552

PX 61   Email chain dated November 15, 2017               RPLI_SEC 0376866

PX 62   Email chain dated December 13, 2013               RPLI_SEC 0636333

PX 63   Email dated June 10, 2013                         RPLI_SEC 0321984

PX 64   Email dated October 8, 2017                       LARSEN-SEC-LIT-00002307

PX 65   Email chain dated March 23, 2017                  RPLI_SEC 0763477

PX 66   Email chain dated April 9, 2017                   RPLI_SEC 0361257

PX 67   Email chain dated May 6, 2017                     RPLI_SEC 0070425

PX 68   Email dated January 4, 2017                       RPLI_SEC 0353469



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PX 69   Email chain dated November 9, 2017                RPLI_SEC 0319272

PX 70   Email chain dated March 22, 2018                                000303

PX 71   Chats dated April 12, 2018                        RPLI_SEC 0198978

PX 72   Email chain dated June 25, 2014 and attachments   RPLI_SEC 0862507

PX 73   Brad Garlinghouse Employment Offer Letter         GARL_ Civil_ 000462

PX 74   Notice of XRP Ledger Address Award, to Brad       GARL00000002
        Garlinghouse, May 29, 2019

PX 75   Notice of XRP Unit Bonus Award, to Brad           GARL00000010
        Garlinghouse, December 13, 2016

PX 76   Email chain dated August 6, 2016                  GSR00014722

PX 77   Memorandum dated November 16, 2017                RPLI_SEC 0395081

PX 78   Email chain dated September 3, 2019               RPLI_SEC 0295506

PX 79   Email dated September 29, 2014 and attachments    RPLI_SEC 0391179

PX 80   Answer of Defendant Ripple Labs                   N/A

PX 81   Garlinghouse Deposition                           N/A

PX 82   Email dated November 29, 2013 and attachment      RPLI_SEC 0337666

PX 83   Email dated April 4, 2017 and attachment          RPLI_SEC 0885526

PX 84   Responses and Defenses of Ripple to Plaintiff’s   N/A
        Fourth Set of Requests for Admission

PX 85   Responses and Defenses of Ripple to Plaintiff’s   N/A
        Second Set of Requests for Admission

PX 86   Responses and Objections of Garlinghouse to       N/A
        Plaintiff’s First Set of Requests for Admission

PX 87   Email chain dated June 24, 2015 and attachment    RPLI_SEC 0095167

PX 88   Email dated May 12, 2018 and attachment           RPLI_SEC 0441722

PX 89   Email dated December 7, 2017 and attachment       RPLI_SEC 0376173

PX 90   Email dated May 8, 2013                           RPLI_SEC 0392729


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PX 91    Email dated July 23, 2019                               RPLI_SEC 0200714

PX 92    Email chain dated September 11, 2019                    RPLI_SEC 0463382

PX 93    Email dated January 18, 2018 and attachments            RPLI_SEC 0394436

PX 94    Ripple Responses to Plaintiff’s Fifth Set of Requests   N/A
         for Admissions

PX 95    Email dated May 8, 2014                                 RPLI_SEC 0425911

PX 96    Email dated May 23, 2014                                      _Ripple_0000903

PX 97    Email chain dated September 13, 2016                    RPLI_SEC 0378113

PX 98    Email chain dated November 13, 2016                     RPLI_SEC 1027130

PX 99    Email dated March 27, 2017 and attachments              RPLI_SEC 0025512

PX 100   Email chain dated August 1, 2014                        RPLI_SEC 0516476

PX 101   Email dated November 30, 2013                           RPLI_SEC 0012359

PX 102   Email chain dated April 8, 2017                         RPLI_SEC 0352285

PX 103   Email dated April 21, 2017 and attachment               RPLI_SEC 0026955

PX 104   Email dated May 2, 2017 and attachment                  RPLI_SEC 0026844

PX 105   Email dated April 30, 2017 and attachment               RPLI_SEC 0026846

PX 106   Email chain dated May 4, 2017 and attachments           RPLI_SEC 0026857

PX 107   Email chain dated July 30, 2014                         RPLI_SEC 0882487

PX 108   Email dated June 3, 2014                                RPLI_SEC 0867637

PX 109   Email chain dated April 14, 2014                        RPLI_SEC 0644286

PX 110   Webpage Capture of RippleForum post dated August        N/A
         14, 2014

PX 111   Email chain dated August 18, 2014                       RPLI_SEC 0530020

PX 112   Email chain dated May 8, 2017                           RPLI_SEC 0032680

PX 113   [Reserved]



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PX 114   Email dated June 5, 2017                             RPLI_SEC 0054397

PX 115   Email dated May 1, 2017 with attachment              RPLI_SEC 0025373

PX 116   Email dated May 16, 2017                             RPLI_SEC 0025370

PX 117   Email chain dated November 27, 2017                  RPLI_SEC 0026664

PX 118   Email chain dated December 3, 2017                   RPLI_SEC 0376309

PX 119   Email dated December 12, 2017                               0041493

PX 120   Email dated January 5, 2018                          RPLI_SEC 1049291

PX 121   Email dated May 16, 2017                             LARSEN-SEC-LIT-00002761

PX 122   Email dated December 7, 2017                         LARSEN-SEC-LIT-00002980

PX 123   Email chain dated September 28, 2015                 RPLI_SEC 0882708

PX 124   Email chain dated March 25, 2017                     RPLI_SEC 0461956

PX 125   Email chain dated December 21, 2017 and attachment   RPLI_SEC 0624327

PX 126   Email dated December 17, 2017                        SEC-     -RIPPLE_0012552

PX 127   Twitter post by @PatGriffin9 dated December 16,      N/A
         2017

PX 128   Email chain dated December 14, 2017                         0041460

PX 129   Email dated April 10, 2017                                  _Ripple_0002462

PX 130   Email chain dated April 29, 2017                     RPLI_SEC 0030278

PX 131   Email chain dated April 8, 2017                      RPLI_SEC 0031476

PX 132   Email chain dated April 8, 2017                      RPLI_SEC 0595858

PX 133   Email chain dated May 1, 2017                        RPLI_SEC 0174887

PX 134   Email dated December 15, 2017 with attachment        RPLI_SEC 0866480

PX 135   Transcription of Recording of Impromptu Meeting,     RPLI SEC 1100541
         dated December 14, 2017

PX 136   Email chain dated March 31, 2017                            0057043



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PX 137   Email chain dated March 31, 2017                            0057431

PX 138   Email chain dated October 15, 2013                  RPLI_SEC 0012819

PX 139   Email dated November 3, 2013                        LARSEN-SEC-LIT-00003489

PX 140   Email chain dated August 10, 2017                   RPLI_SEC 0622801

PX 141   Email chain dated July 28, 2016                     RPLI_SEC 0019150

PX 142   Email chain dated April 3, 2017                     RPLI_SEC 0509599

PX 143   Email chain dated March 21, 2019                    RPLI_SEC 1029362

PX 144   Email chain dated January 11, 2018                  RPLI_SEC 1048433

PX 145   Email dated July 1, 2019                            SEC-              -E-0048590

PX 146   Email chain dated June 26, 2018                     RPLI_SEC 0261294

PX 147   Email chain dated March 22, 2017                    RPLI_SEC 0542677

PX 148   Email chain dated April 19, 2017                    RPLI_SEC 0528863

PX 149   Email dated December 19, 2013 with attachment       RPLI_SEC 0646482

PX 150   Email chain dated November 30, 2013                 RPLI_SEC 0012358

PX 151   Email chain dated November 21, 2014                 RPLI_SEC 0054769

PX 152   Email chain dated May 21, 2014                      RPLI_SEC 0842618

PX 153   Email dated July 21, 2016                           SEC-      -RIPPLE_0009285

PX 154   Email chain dated July 5, 2019                             _000144

PX 155   Email dated April 2, 2017                           RPLI_SEC 0049065

PX 156   Email chain dated April 15, 2020                    RPLI_SEC 0567373

PX 157   Email chain dated August 19, 2016 with attachment   RPLI_SEC 0052598

PX 158   Email dated September 3, 2013 with attachments      RPLI_SEC 0098235

PX 159   Email chain dated March 23, 2017                    RPLI_SEC 0461976

PX 160   Email chain dated June 21, 2016                     RPLI_SEC 0040947



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PX 161   Email dated March 26, 2017                           RPLI_SEC 0513551

PX 162   Email chain dated April 10, 2017                     RPLI_SEC 0577766

PX 163   Email dated March 22, 2017                           RPLI_SEC 0425936

PX 164   Email chain dated May 27, 2020                       RPLI_SEC 0478900

PX 165   Email chain dated October 27, 2020                   RPLI_SEC 0505983

PX 166   Email chain dated July 23, 2019                      RPLI_SEC 0181347

PX 167   Chat dated April 11, 2019                            RPLI_SEC 1102439

PX 168   Information Regarding XRP II, LLC's History and      RPLI_SEC 0001203
         Business

PX 169   Letter Response by Counsel to Inquiry from the New   RPLI_SEC 0846192
         York State Department of Financial Services, dated
         March 9, 2016

PX 170   Email chain dated April 22, 2016                     RPLI_SEC 0038156

PX 171   Email chain dated September 20, 2014                       _0001489

PX 172   Email chain dated May 30, 2019                       RPLI_SEC 0435051

PX 173   Declaration of               (August 22, 2022)       N/A

PX 174   Email chain dated July 10, 2017                      RPLI_SEC 0762086

PX 175   Email chain dated November 16, 2018                  RPLI_SEC 0080779

PX 176   Email chain dated April 20, 2020 with attachment     RPLI_SEC 0582856

PX 177   Email dated April 23, 2019 with attachments          RPLI_SEC 0268793

PX 178   Email chain dated August 16, 2016                    RPLI_SEC 0050737

PX 179   Email chain dated February 22, 2017                  RPLI_SEC 0312056

PX 180   Standalone table with Quarterly XRP Sales            N/A

PX 181   Chat dated August 18, 2020                           RPLI_SEC 1102142

PX 182   Email chain dated January 10, 2020                   RPLI_SEC 0502500

PX 183   Email dated June 23, 2020 with attachment            RPLI_SEC 0302044


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PX 184    Email dated June 23, 2020 with attachment                  RPLI_SEC 0301742

PX 185    Chats dated June 23-24, 2020                               RPLI_SEC 0504550

PX 186    Email chain dated June 23, 2020 with attachment            RPLI_SEC 0301656

PX 187    Email chain dated July 6, 2020 with attachment             RPLI_SEC 0878010

PX 188    Email chain dated July 14, 2020                            RPLI_SEC 0301861

PX 189    Email chain dated November 24, 2020                        RPLI_SEC 0505410

PX 190    Email dated July 21, 2020 with attachment                  RPLI_SEC 0504019

PX 191    Email chain dated August 6, 2020                           RPLI_SEC 0590964

PX 192    Email chain dated October 14 2016                          RPLI_SEC 1050812

PX 193    Email chain dated July 2, 2019                             RPLI_SEC 0413724

PX 194    Email dated July 29, 2019                                  RPLI_SEC 0468211

PX 195    Email chain dated September 6, 2019                        RPLI_SEC 0472187

PX 196    Email chain dated April 3, 2019                            RPLI_SEC 0414368

PX 197    Email chain dated October 14, 2016                         RPLI_SEC 1050812

PX 198    Email chain dated June 27, 2019                            GSR00007158

PX 199    Email dated August 21, 2020 with attachments               RPLI_SEC 0590771

PX 200    Email dated May 9, 2018 with attachment                    RPLI_SEC 0431916


  I declare under penalty of perjury that the foregoing is true and correct.

  Dated: New York, New York
         September 13, 2022


                                                  ___________________________________
                                                              Ladan F. Stewart




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